Filed 03/21/18                                                              Case 17-21796                                                                       Doc 73


                                                                UNITED STATES BANKRUPTCY COURT
                                                                 EASTERN DISTRICT OF CALIFORNIA
     In re                                                        )
     Armando Covarrubias                                          )
                                                                  )         Case No. 2016-24610
                                                                  )
                           Debtor(s).                             )         AMENDMENT COVER SHEET

    Amendment(s) to the following petition, list(s), schedule(s), or statement(s) are attached hereto:
       Petition                                                        Statement of Your Financial Affairs
       Creditor Matrix                                                 Statement of Intention for Individuals Filing Under Ch. 7
       List of 20 Largest Unsecured Creditors                          List of Equity Security Holders
       Schedules (check appropriate boxes). See Instruction #4 below.
           A/B     C     D    E/F      G       H       I    J
       Summary of Schedules of Assets and Liabilities
       REQUIRED IF AMENDING SCHEDULE(S) A/B, D, E/F, I, OR J.

     Purpose of amendment (check one):
        To add pre-petition creditors, delete creditors, change amounts owed or classification of debt ($30.00 fee required,
        provided the bankruptcy judge may, for good cause, waive the charge in any case.) NOTE: Lists, schedules and
        statements that add or change creditors must be accompanied by an amended matrix listing only the creditors
        added or changed.
        No pre-petition creditors were added, creditors deleted, or amounts owed or classifications of debt changed.
                                                        NOTICE OF AMENDMENT TO AFFECTED PARTIES
        Pursuant to Federal Rule of Bankruptcy Procedure 1009(a), I certify that notice of the filing of the amendment(s)
    checked above has been given this date to the Trustee in this case, and to any and all entities affected by the
    amendment, together with a copy of the notice of meeting of creditors, the discharge (if one has been entered), a
    subsequent notice to file claims (if one has been issued), and any other document affecting the rights of the added
    creditors. (NOTE: Proof of service, indicating that service has been made, must be filed with the Court.)
     Dated:        March 21, 2018                               Attorney's [or Pro Se Debtor's] Signature: /s/ Thomas O. Gillis
                                                                Printed Name:                              Thomas O. Gillis 40186
                                                                Mailing Address:                           1006 H. Street Ste. 1
                                                                                                           Modesto, CA 95354
                                                                         DECLARATION BY DEBTOR
       I(We), the undersigned debtor(s), hereby declare under penalty of perjury that the information set forth in the
    amendment(s) attached hereto, consisting of    pages, is true and correct.
     Dated:        March 21, 2018                                                   Dated:
                   /s/ Armando Covarrubias
                   Armando Covarrubias
                   Debtor's Signature                                                        Joint Debtor's Signature
                                                                             INSTRUCTIONS
    1. Use this cover sheet ONLY when filing amended petitions, lists, schedules and statements. Do not use an amendment cover sheet when
       submitting amended plans or amendments to plans.
    2. Include the word "Amended" in the title of each amended document.
    3. Amendments to property schedules (A/ B), creditor schedules (D and E/ F), or income/expenses schedules (I and J) must be accompanied by an
       amended Summary of Schedules of Assets and Liabilities. Updates to the schedule totals will not be made unless the summary is filed.
    4. Amendments to add creditors or change their names/addresses must consist of the amended schedule(s) with a notation to the right of the creditor
       entry of “A” if the creditor is being added or “C” if it is being changed. Failure to include “A” or “C” notations on amended schedules may result
       in duplicate or multiple listings on master address lists.
    5. Amendments which add or change creditors must be accompanied by a separately filed amended matrix containing ONLY the additions/changes so
       that the creditors may be downloaded into the case. The matrix should not contain the “A” or “C” notations.
    6. When e-Filing an amended matrix, you must submit two separate files: a PDF file containing the amendment cover sheet for the matrix, and a text file
       containing the creditors in the standard master address list format. These two files must be uploaded together.
    7. Federal Rule of Bankruptcy Procedure 1009 requires the debtor to give notice of an amendment to the trustee and to any entity affected thereby.
       Notice of the amendment will not be given by the Clerk’s Office. To comply with this requirement, the debtor's attorney or Pro Se debtor must
       give notice to the trustee and any entity affected by the amendment by serving all previous court notices including, but not limited to, the notice of
       meeting of creditors, discharge of debtor, etc. A proof of service, indicating that service has been made, must be filed with the court.

    EDC 2-015 (Rev. 12/1/15)
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                                                                                                                                                                                     3/20/18 3:29PM


     Fill in this information to identify your case:

     Debtor 1                   Armando Covarrubias
                                First Name                           Middle Name                          Last Name

     Debtor 2
     (Spouse if, filing)        First Name                           Middle Name                          Last Name


     United States Bankruptcy Court for the:                  EASTERN DISTRICT OF CALIFORNIA

     Case number           2017-21796
     (if known)
                                                                                                                                                                      Check if this is an
                                                                                                                                                                      amended filing



    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.

     Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

     1.     Schedule A/B: Property (Official Form 106A/B)
            1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             273,923.00

            1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             142,714.00

            1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             416,637.00

     Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

     2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
            2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             456,807.00

     3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
            3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                  740.00

            3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              82,920.00


                                                                                                                                         Your total liabilities $               540,467.00


     Part 3:        Summarize Your Income and Expenses

     4.     Schedule I: Your Income (Official Form 106I)
            Copy your combined monthly income from line 12 of Schedule I................................................................................             $                6,347.00

     5.     Schedule J: Your Expenses (Official Form 106J)
            Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                4,797.00

     Part 4:        Answer These Questions for Administrative and Statistical Records

     6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
                 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

               Yes
     7.     What kind of debt do you have?

                    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                    household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
     Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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     Debtor 1      Armando Covarrubias                                                        Case number (if known) 2017-21796

     8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
           122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                            $       8,377.05


     9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                             Total claim
           From Part 4 on Schedule E/F, copy the following:

           9a. Domestic support obligations (Copy line 6a.)                                                   $                0.00

           9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $             740.00

           9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                0.00

           9d. Student loans. (Copy line 6f.)                                                                 $                0.00

           9e. Obligations arising out of a separation agreement or divorce that you did not report as
               priority claims. (Copy line 6g.)                                                               $                0.00

           9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                0.00


           9g. Total. Add lines 9a through 9f.                                                           $                 740.00




    Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
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     Fill in this information to identify your case:

     Debtor 1                      Armando Covarrubias

     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the:       EASTERN DISTRICT OF CALIFORNIA

     Case number               2017-21796                                                                     Check if this is:
     (If known)
                                                                                                                  An amended filing
                                                                                                                  A supplement showing postpetition chapter
                                                                                                                  13 income as of the following date:

     Official Form 106I                                                                                           MM / DD/ YYYY
     Schedule I: Your Income                                                                                                                                12/15
    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
    spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
    attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

     Part 1:               Describe Employment

     1.     Fill in your employment
            information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

            If you have more than one job,                                 Employed                                     Employed
            attach a separate page with           Employment status
            information about additional                                   Not employed                                 Not employed
            employers.
                                                  Occupation            Owner                                        Housewife
            Include part-time, seasonal, or
            self-employed work.                   Employer's name       Gallegos Trucking

            Occupation may include student        Employer's address
                                                                        1474 Tesoro Drive
            or homemaker, if it applies.
                                                                        Manteca, CA 95337

                                                  How long employed there?         9 years

     Part 2:               Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.

    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
    more space, attach a separate sheet to this form.

                                                                                                            For Debtor 1          For Debtor 2 or
                                                                                                                                  non-filing spouse

            List monthly gross wages, salary, and commissions (before all payroll
     2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $              0.00       $            0.00

     3.     Estimate and list monthly overtime pay.                                             3.     +$              0.00       +$           0.00

     4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $           0.00              $      0.00




    Official Form 106I                                                       Schedule I: Your Income                                                     page 1
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     Debtor 1   Armando Covarrubias                                                                   Case number (if known)    2017-21796


                                                                                                          For Debtor 1            For Debtor 2 or
                                                                                                                                  non-filing spouse
          Copy line 4 here                                                                     4.         $              0.00     $             0.00

     5.   List all payroll deductions:
          5a.   Tax, Medicare, and Social Security deductions                                  5a.        $              0.00     $               0.00
          5b.   Mandatory contributions for retirement plans                                   5b.        $              0.00     $               0.00
          5c.   Voluntary contributions for retirement plans                                   5c.        $              0.00     $               0.00
          5d.   Required repayments of retirement fund loans                                   5d.        $              0.00     $               0.00
          5e.   Insurance                                                                      5e.        $              0.00     $               0.00
          5f.   Domestic support obligations                                                   5f.        $              0.00     $               0.00
          5g.   Union dues                                                                     5g.        $              0.00     $               0.00
          5h.   Other deductions. Specify:                                                     5h.+       $              0.00 +   $               0.00
     6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               0.00
     7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               0.00
     8.   List all other income regularly received:
          8a. Net income from rental property and from operating a business,
                 profession, or farm
                 Attach a statement for each property and business showing gross
                 receipts, ordinary and necessary business expenses, and the total
                 monthly net income.                                                           8a.        $      5,959.00         $               0.00
          8b. Interest and dividends                                                           8b.        $          0.00         $               0.00
          8c. Family support payments that you, a non-filing spouse, or a dependent
                 regularly receive
                 Include alimony, spousal support, child support, maintenance, divorce
                 settlement, and property settlement.                                          8c.        $              0.00     $               0.00
          8d. Unemployment compensation                                                        8d.        $              0.00     $               0.00
          8e. Social Security                                                                  8e.        $              0.00     $               0.00
          8f.    Other government assistance that you regularly receive
                 Include cash assistance and the value (if known) of any non-cash assistance
                 that you receive, such as food stamps (benefits under the Supplemental
                 Nutrition Assistance Program) or housing subsidies.
                 Specify:                                                                      8f.  $                0.00   $                     0.00
          8g. Pension or retirement income                                                     8g. $                 0.00   $                     0.00
          8h. Other monthly income. Specify: Expected Tax refund                               8h.+ $              388.00 + $                     0.00

     9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          6,347.00         $                0.00

     10. Calculate monthly income. Add line 7 + line 9.                                     10. $             6,347.00 + $             0.00 = $           6,347.00
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
         other friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify:                                                                                                                  11. +$                       0.00

     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
         applies                                                                                                                        12.   $           6,347.00
                                                                                                                                              Combined
                                                                                                                                              monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
               No.
               Yes. Explain:




    Official Form 106I                                                      Schedule I: Your Income                                                         page 2
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      Fill in this information to identify your case:

      Debtor 1                 Armando Covarrubias                                                               Check if this is:
                                                                                                                     An amended filing
      Debtor 2                                                                                                             A supplement showing postpetition chapter
      (Spouse, if filing)                                                                                                  13 expenses as of the following date:

      United States Bankruptcy Court for the:   EASTERN DISTRICT OF CALIFORNIA                                             MM / DD / YYYY

      Case number           2017-21796
      (If known)



      Official Form 106J
      Schedule J: Your Expenses                                                                                                                                   12/15
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
      number (if known). Answer every question.

      Part 1:   Describe Your Household
      1. Is this a joint case?
                 No. Go to line 2.
                 Yes. Does Debtor 2 live in a separate household?
                            No
                            Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

      2.    Do you have dependents?               No
            Do not list Debtor 1 and              Yes.
                                                         Fill out this information for   Dependent’s relationship to          Dependent’s       Does dependent
            Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age               live with you?

            Do not state the                                                                                                                       No
            dependents names.                                                            Son                                  16                   Yes
                                                                                                                                                   No
                                                                                         Son                                  17                   Yes
                                                                                                                                                   No
                                                                                                                                                   Yes
                                                                                                                                                   No
                                                                                                                                                   Yes
      3.    Do your expenses include                     No
            expenses of people other than
            yourself and your dependents?                Yes

      Part 2:    Estimate Your Ongoing Monthly Expenses
      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.

      Include expenses paid for with non-cash government assistance if you know
      the value of such assistance and have included it on Schedule I: Your Income
      (Official Form 106I.)                                                                                                        Your expenses


      4.    The rental or home ownership expenses for your residence. Include first mortgage
            payments and any rent for the ground or lot.                                                          4. $                             2,064.00

            If not included in line 4:

            4a. Real estate taxes                                                                               4a.    $                               0.00
            4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                               0.00
            4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             100.00
            4d. Homeowner’s association or condominium dues                                                     4d.    $                               0.00
      5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                               0.00




      Official Form 106J                                                   Schedule J: Your Expenses                                                             page 1
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      Debtor 1     Armando Covarrubias                                                                       Case number (if known)      2017-21796

      6.    Utilities:
            6a. Electricity, heat, natural gas                                                     6a. $                                                 225.00
            6b. Water, sewer, garbage collection                                                   6b. $                                                 100.00
            6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 233.00
            6d. Other. Specify:                                                                    6d. $                                                   0.00
      7.    Food and housekeeping supplies                                                           7. $                                                842.00
      8.    Childcare and children’s education costs                                                 8. $                                                  0.00
      9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 75.00
      10.   Personal care products and services                                                    10. $                                                  65.00
      11.   Medical and dental expenses                                                            11. $                                                 115.00
      12.   Transportation. Include gas, maintenance, bus or train fare.
            Do not include car payments.                                                           12. $                                                 375.00
      13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  78.00
      14.   Charitable contributions and religious donations                                       14. $                                                   0.00
      15.   Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.
            15a. Life insurance                                                                  15a. $                                                    0.00
            15b. Health insurance                                                                15b. $                                                    0.00
            15c. Vehicle insurance                                                               15c. $                                                  175.00
            15d. Other insurance. Specify:                                                       15d. $                                                    0.00
      16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
            Specify: Income Taxes                                                                  16. $                                                 350.00
      17.   Installment or lease payments:
            17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
            17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
            17c. Other. Specify:                                                                 17c. $                                                     0.00
            17d. Other. Specify:                                                                 17d. $                                                     0.00
      18.   Your payments of alimony, maintenance, and support that you did not report as
            deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
      19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
            Specify:                                                                               19.
      20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
            20a. Mortgages on other property                                                     20a. $                                                     0.00
            20b. Real estate taxes                                                               20b. $                                                     0.00
            20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
            20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
            20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
      21.   Other: Specify:                                                                        21. +$                                                   0.00
      22. Calculate your monthly expenses
          22a. Add lines 4 through 21.                                                                                     $                       4,797.00
          22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
            22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       4,797.00
      23. Calculate your monthly net income.
          23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               6,347.00
          23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              4,797.00

            23c. Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                                           23c. $                              1,550.00

      24. Do you expect an increase or decrease in your expenses within the year after you file this form?
            For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
            modification to the terms of your mortgage?
               No.
               Yes.             Explain here:




      Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
